Case 8:21-cv-01258-SDM-TGW Document 1-1 Filed 05/24/21 Page 1 of 2 PagelD 7
3844 (Rev, 10/20) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 19774, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
DAVID POSCHMANN ROD & REEL RESORT, LLC
(>) County of Residence of First Listed Plaintiff St, Lucie County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Drew M. Levitt, Esq./Lee D. Sarkin, Esq. 561-994-6922
4700 NW Boca Raton Blvd., #302, Boca Raton, FI. 33431

 

 

I. BASIS OF JURISDICTION (Piace an “X” in One Box Only) Wl. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only} and One Box for Defendant)
[11 US. Government [x]3 Federal Question PIF DEF PIF DEF
Plaintitf (U.S. Government Not a Party) Citizen of This State [11 [7] 1 incorporated uv Principal Place []4 []4
of Business In This State
C] 2 U.S. Government C4 Diversity Citizen of Another State CI 2 Cl 2 incorporated and Principal Place C] 3 Cl 3
Defendant (indicate Citizenship of Parties in Item II1) of Business In Another State
Citizen or Subject of a C13 [[] 3. Foreign Nation [le [je
Foreign Country

 

 

     
   

  

IV. NATURE OF SUIT (hace an “x” in One B Click here for: Nature of Suit Code Descriptions.

   
  

    
 

   

 

ox Only}

        
       
    
 
       
    
 
   
  
  
  
           
        
  

 
 

   
     

C a ae pS SEL
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drag Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _|690 Other 28 USC 157 372%a))
14D Negotiable Instrument Liability Cl 367 Health Care/ | | 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical |_| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability Cl 368 Asbestos Persona! 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) -| 345 Marine Product Liability 840 Trademark Corrupt Organizations
CI 153 Recovery of Overpayment Liability PERSONAL PROPERTY & | | 880 Defend Trade Secrets {| 480 Consumer Credit
of Veleran’s Benefits 350 Motor Vehicle 370 Other Fraud Standards Act of 2016 (15 USC 1681 or 1692)
Cr 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending | | 485 Telephone Consumer

[| 190 Other Contract Product Liability L] 380 Other Personal | (720 Labor/Management e Protection Act

 
  

  

| | 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (395i) | | 490 Cable/Sat TV
[| 196 Franchise Injury Cl 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
i 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI L_| 890 Other Statutory Actions

    

     

joes ess x Ss a
|_| 210 Land Condemnation __| 440 Other Civil Rights Habcas Corpus:

    
   
     
     
 
  

1790 Other Labor Litigation
79) Employee Retirement

865 RS! (405(g)} |_| $91 Agricultural Acts

| | 893 Environmental Matters

   
     

 

 

 

 

|_| 220 Foreclosure | 441 Voting _| 463 Alien Detainee Income Security Act = 895 Freedom of Information
| | 230 Rent Lease & Ejectment 442 Employment | | 510 Motions to Vacate |_| 870 Taxes (U.S. Plaintiff Act
| | 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
| {245 Tort Product Liability Accommodations |_| 530 General |_| 871 IRS—Third Party 899 Administrative Procedure
| 290 Ali Other Real Property | 445 Amer. w/Disabilities -] | 535 Death Penalty 26 USC 7609 Act/Review or Appeal of
Employment Other: A462 Naturalization Application Ageacy Decision
x] 446 Amer. w/Disabilities 7] 540 Mandamus & Other 465 Other immigration |_| 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
| 448 Education |_| 555 Prison Condition
H | 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “x” in One Box Only)
[x] 1 Original Ci Removed from Ol 3 Remanded from Ol 4 Reinstated or Oo 5 Transferred from 6 Multidistrict Cl 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De nat cite jurisdictional statutes unless diversity):
42 USC 12181, et seg and 28 CFR Section 36.302(e)(1)

Brief description of cause:
ADA violations on Defendant's online reservation system

VI. CAUSE OF ACTION

 

 

 

 

 

VII, REQUESTED IN [-] CHECK If THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. injunctive relief JURY DEMAND: [fyes []No
VIL. RELATED CASE(G)
IF ANY (See instructions): ag DOCKET NUMBER
SIGNATURE OF ATTORNEY OF RECORD
3G fous, / s/Drew M. Levitt

 

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUBGE MAG. JUDGE
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JS 44 Reverse (Rev. 10/20)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

La)

(b)

(2)

Hil.

WV.

VIL.

VIL

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the

citizenship of the different parties must be checked, (See Section IIT below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action, Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand, In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge nares for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
